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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

LATRICIA EPPS, individually and on
behalf of all others similarly situated                                             PLAINTIFF

v.                               Case No. 4:21-cv-00750 KGB

STAT INFORMATIC SOLUTIONS, LLC                                                   DEFENDANT

                                             ORDER

       Before the Court is the parties’ joint stipulation of dismissal with prejudice (Dkt. No. 5).

The stipulation accords with the terms of Federal Rule of Civil Procedure 41(a)(1)(A)(ii). For

good cause shown, the Court adopts the joint stipulation of dismissal with prejudice, with the

parties to bear their own costs and attorney’s fees (Dkt. No. 5).

       So ordered this 12th day of November, 2021.


                                                      _______________________________
                                                      Kristine G. Baker
                                                      United States District Judge
